                                                 Commonwealth of Massachusetts

               MIDDLESEX,SS                                                         TRIAL COURT OF THE COTMTMONWEALTH
                                                                                    SUPERIOR COURT DEPARTTVENT
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               M..r    h.-,\ fr..;h                 , PLAINTIFF(S),


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                                                                            SUMMONS

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               You are being    sued. The Plaintiff(s)   named above has started a lawsuit against you. A copy of the
               Plain                               you is attached to this summons and the original complaint has been
               filed                                     Court. YOU MUSTACT PROMPTLY TO PROTECT YOUR RIGHTS.

               You must respond to this lawsuit in writing within 20 days. lf you do not respond, the court may decide
               the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
               opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect
               to resolve this matter with the Plaintiff. lf you need more time to respond, you may request an
               extension of time in writing from the Court.
  2.           How to Respond. To respond to this lawsuit, you must file a written response with the count and mail a
               copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented) You can do this by:
          a.   Filing your signed                                the Clerk's Office for C ivi I B u s   i   n   esslt"HLj\-Slbt      wt
 to(i                                                            person, AND
          b.   Delivering or mailing a copy of your respo             to the                                         the followino


     3.        What to include in your response An          tt
                                                                                        a       D   Lour r"i
                                                                     one type of response to a Complaint. Your Answer
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               must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.
               Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
               use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
               based on the same facts or transaction described in the Complaint, then you must include those claims
               in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
               Iawsuit. lf you want to have your case heard by a jury you must specifically request     a jury trial in your
               Answer or in a written demand for a jury trial that you must send to the other side and file with the
               court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
               "Motion to Dismiss," if you believe that the complaint is legally invalid or legally insufficient. A lVlotion
               toDismissmustbebasedononeofthelegal deficienciesorreasonslistedunderMass.R.Civ.P.                                          12. lf
               you are filing a lvlotion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
               described in the rules of the Court in which the complaint was filed, available at
               www. mass. gov.cou rts/case-lega l-res/ru les of cou rt.
4.   Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
     information for people who represe nt themselves is available at www.mass.gov/courts/selfhel p.
6    Required information on all filings: The "civil docket number" appearing at the top of this notice is the
     case number assigned to this case and must appear on the front of your Answer or N/otion to Dismiss.
     You should refer to yourself as the "Defendant."

     Witness Hon. Heidi Brieger, Chief Justice on                                    ,20   _.



              A.      ivan




     Note: The number assigned to the Complaint by the Clerk-lt4agistrate at the beginning of the lawsuit should be indicated on the
     summons before it is served on the Defendant.




                                           PROOF OF SERVICE OF PROCESS

               I hereby certify that on                     I /t,            ,2072?,1 served a copy of this summons,
     together with a copy of the complaint in this action, on the defendant named in this summons, in the
     following manner (See lvtass. R. Civ. P. (d)(l-5)):
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                                            tu




     Dated:                         0            ,2072,                                              o&-A
     N.B.      TO PROCESS SERVER:


               PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH
     ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.




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